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       From: "Hart, Stephen R. (WF) (FBI)" <SRHART2@fbi.sgov.gov>
          To: "D'Amico, Frank G. (WF) (FBI)" <FGDAMICO@fbi.sgov.gov>
     Subject: Bootleg Costello 302 --- UNCLASSIFIED
        Date: Wed, 10 Nov 2021 12:01:10 -0500
  Importance: Normal


Classification: UNCLASSIFIED
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Here you go…


ROBERT COSTELLO, Partner, Davidoff Hutcher & Citron, LLP, 605 Third Avenue, New York, New York, was
interviewed via Webex. COSTELLO was joined in the interview via Webex by his associate ADAM
KATZ. COSTELLO was interviewed by Assistant United States Attorney (AUSA) J.P. Cooney, U.S. Attorney's
Office for the District of Columbia (USAO-DC), AUSA Molly Gaston USAO-DC, AUSA Amanda Vaughn
USAO-DC, Paralegal Chad Byron USAO-DC, FBI Special Agent Katherine E. Pattillo, FBI Special Agent
Frank G. D'Amico, FBI Special Agent Matthew Lariccia, and FBI Special Agent Stephen R. Hart. There were
no agreements or conditions governing the conversation between COSTELLO or representatives of USAO-DC
or FBI. After being advised of the identities of the interviewing AUSAs and Agents and the nature of the
interview, COSTELLO provided the following information:

  COSTELLO had initiated contact with the U.S. Attorney's Office (USAO) because he was not certain what had been
provided to them regarding his interactions with the U.S. House of Representatives Select Committee to Investigate the
January 6th Attack on the United States Capitol (the Select Committee) regarding their subpoena to his client, STEPHEN
BANNON (BANNON). COSTELLO was willing to provide USAO additional written correspondence between him and
the Select Committee.

  The Select Committee subpoena requested a number of different categories of information from BANNON.
Among them, the Select Committee sought copies of BANNON's podcast. COSTELLO found this request odd
because the podcasts are available to the public online. COSTELLO and BANNON discussed the categories and
were preparing to respond to Chairman Thompson on October 19, 2021, when they received a letter on October
18, 2021, from the Select Committee notifying of a deadline to respond. However, just that afternoon,
COSTELLO had learned of a lawsuit filed by attorneys for former President DONALD TRUMP in US District
Court in Washington, DC, challenging the Select Committee. COSTELLO had not had communication with
attorneys for TRUMP prior to that date. After learning of the lawsuit filed by the attorneys for TRUMP,
COSTELLO wrote a short letter to the Select Committee requesting an adjournment from the proceedings.
COSTELLO did not expect the Select Committee to give him a full seven days adjournment, but he did expect
the Select Committee to give him 24-48 hours to review the lawsuit and whether or not it applied to the
subpoena served on BANNON.

  With regards to responding to the Select Committee's request for documents, COSTELLO planned to send a
link to the website hosting all of BANNON's publicly accessible podcasts. COSTELLO and BANNON had also
identified five other categories for which BANNON had no responsive documents. COSTELLO believed the
request listed as number 17 involved information over which BANNON could assert attorney-client privilege
give it included a request for communications between BANNON and RUDOLPH GIULIANI, JENNA ELLIS,
and other attorneys who were working for former President TRUMP. COSTELLO did not want to assert
Executive Privilege over items BANNON didn't possess or were publicly available, like the podcasts. TRUMP's
attorneys were the first to say they were invoking Executive Privilege. COSTELLO believed he first heard this
asserted in a letter dated October 6, 2021.




                                                                                                               US-002305
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  At approximately 5:59pm on October 18, 2021, COSTELLO sent a letter to the Select Committee requesting
an adjournment. However, COSTELLO received a letter from White House Counsel's Office at 6:55pm advising
former President TRUMP's use of Executive Privilege in regards to activities on January 6, 2021, was not valid
and could therefore not be asserted by BANNON. COSTELLO assumed the Select Committee forwarded his
letter to the White House generating the response. The Select Committee responded on October 19, 2021.
However, per Select Committee rules, COSTELLO was not allowed to respond.

 The following day, the Select Committee held a press conference regarding their vote and to make an example
out of BANNON. The Select Committee had served subpoenas to BANNON, MARK MEADOWS, PATEL, and
SCAVINO (writer's note: PATEL and SCAVINO are KASH PATEL and DAN SCAVINO).
COSTELLO reminded interviewing agents and attorneys that nothing had happened to any of the other s ubpoena
recipients. however, the Select Committee were engaging with MEADOWS and PATEL. But, it was believed that neither
MEADOWS nor PATEL had been brought before the Select Committee nor had they produced documents as required in
their subpoenas.

  COSTELLO informed BANNON that BANNON does not have the ability to waive Executive Privilege since
that authority belongs to the President.

  COSTELLO spoke with an attorney on the Select Committee the night before BANNON was scheduled to
appear. The attorney informed COSTELLO he was checking to confirm if COSTELLO and/or BANNON was
going to appear. The attorney stated he had young kids at home and preferred to be at home with them rather
than preparing for a deposition if they had no plans to appear. COSTELLO told the attorney he could go home
for the night as they would not be appearing before the Select Committee. COSTELLO brought up to the
attorney the unusual Select Committee rule that the only lawyer allowed to be present with a witness was the
witness's attorney. The Committee attorney responded those were the rules of the Select Committee and offered
no further explanation or discussion.

  COSTELLO viewed the whole issue as a "battle" between the Select Committee and former President
TRUMP. Per the DOJ Office of Legal Counsel (DOJ-OLC), BANNON did not have to be a government
employee to receive protections under Executive Privilege. COSTELLO believed BANNON was covered under
Executive Privilege and that former President TRUMP had to the right to claim it for BANNON.
COSTELLO stated, similar to DOJ-OLC's opinion, the Supreme Court has held since 1977 that a person does
not need to be a government employee to receive protections under Executive Privilege. COSTELLO believed
the Executive Privilege issue should be worked out between the Select Committee and former President TRUMP
and not by BANNON. In regards to Executive Privilege, COSTELLO and BANNON would follow any
agreements made by former President TRUMP and the Select Committee; or legal ruling of a court.
BANNON was not a contemptuous person in regards to the Select Committee's proceedings.

  The Select Committee told COSTELLO the issue of Executive Privilege was not to be decided by BANNON.
COSTELLO pointed out BANNON had testified on four previous occasions. Each of these instances involved
discussions regarding BANNON's communications with former President TRUMP and the possible issue of
Executive Privilege. BANNON had previously testified once before the Mueller Special Counsel's Office, once
before the Senate Intelligence Committee, and twice before the House Intelligence Committee. Representative
ADAM SCHIFF is on the Select Committee and SCHIFF should be aware that BANNON knows the processes.

  DOJ-OLC had previously reviewed a similarly constructed House committee which operated under the same rules as
the Select Committee. COSTELLO did not know who or what was covered under Executive Privilege but that decision
was up to former President TRUMP and the courts. COSTELLO believed the Select Committee was purposely going
after BANNON because of who he was and the Select Committee wanted to use the USAO to force people to reply to the
Select Committee. COSTELLO believed that based upon the DOJ-OLC guidance, BANNON would not have to reply to
the Select Committee subpoena.

  COSTELLO believed that ten of the topics listed in the schedule attachment of the Select Committee subpoena
were protected by Executive Privilege leaving seven which were not. COSTELLO advised by BANNON not to
respond to the Select Committee subpoena. Instead, BANNON should wait to respond until an agreement was



                                                                                                           US-002306
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reached between the Select Committee and former President TRUMP or if a court defined what was covered
under Executive Privilege. COSTELLO requested USAO decline prosecution of BANNON and for the U.S.
House of Representatives to attempt to settle the matter civilly. COSTELLO believed under the legal
argument void ab initito there was no civil recourse for the Select Committee. BANNON was fully engaged
with COSTELLO throughout the entire process.

  COSTELLO could not recall the exact date and time, but a Select Committee staffmember had called him prior to
the subpoena issue to confirm COSTELLO still represented BANNON. The following day, KRISTIN
AMERLING called COSTELLO to ask if he would accept the service of the Select Committee subpoena on behalf of
BANNON. AMERLING sent the Select Committee subpoena to COSTELLO before COSTELLO had a chance to
speak with BANNON. COSTELLO was contacted by various press outlets before he agreed to accept service of the
Select Committee subpoena. The Select Committee held a press conference about the subpoena before COSTELLO had
the opportunity to reply to the Select Committee.

  COSTELLO was initially not certain who represented SCAVINO, PATEL, MEADOWS, or former President
TRUMP. COSTELLO later learned which attorney was representing MEADOWS. COSTELLO attempted to
contact the attorney he believed was representing former President TRUMP, but that attorney advised him that
former President TRUMP was being represented by JUSTIN CLARK. COSTELLO first had contact with
CLARK on approximately October 4 or October 5, 2021. COSTELLO could not recall the exact date, but
recalled it was a day or two before he received the letter from the Select Committee on October 6, 2021.
COSTELLO was not certain but believed he may have attempted to contact CLARK and the first substantive
contact was a result of CLARK responding to COSTELLO. Throughout the subpoena response process,
COSTELLO, KATZ, and BANNON have operated independently of others who have received subpoenas from
the Select Committee and their respective attorneys.

  COSTELLO sent the Select Committee subpoena to BANNON to review. BANNON did not think he had
documents for all 17 items listed in the schedule attachment BANNON was certain he had no documents for
five of the categories. COSTELLO did not inform the Select Committee of BANNON's position on the 17 items
in the schedule. However, on October 18, 2021, COSTELLO was in the process of drafting a letter to the Select
Committee about that when he was informed of the lawsuit filed on behalf of former President TRUMP.
COSTELLO was surprised he was not given a courtesy 24-48-hour adjournment by the Select Committee to
review the lawsuit. COSTELLO believed the adjournment was intentionally not given by the Select Committee
in order to be able to send the matter to the House for a vote. Per DOJ-OLC's opinion, the Select Committee
knew the subpoenas were illegal and unenforceable.

  After AMERLING contacted COSTELLO, he may have contacted her the following day. COSTELLO did not
have any additional contact with AMERLING since then. COSTELLO spoke with SEAN TONOLLI at the
Select Committee. Outside of AMERLING and TONOLLI, COSTELLO has not spoken with anyone else at the
Select Committee. COSTELLO was not sure of the exact date, but TONOLLI called COSTELLO between
7:30pm and 8:00pm. TONOLLI advised he was staff counsel at the Select Committee and would be the one
person asking questions during the deposition. TONOLLI called to verify neither COSTELLO nor
BANNON were going to appear at the deposition. TONOLLI said he had kids and would prefer to be at home
with them instead of at work if COSTELLO confirmed neither he nor BANNON would appear at the
deposition. COSTELLO brought up the issue of Executive Privilege and informed TONOLLI the Select
Committee could either agree to it or litigate. COSTELLO told TONOLLI he noticed in the Select Committee's
rules the only attorney who could attend the deposition would be an attorney representing the witness and no
outside attorneys. COSTELLO believed this would be a secret deposition since, unlike other depositions, neither
the witness nor the witness's attorney could review the transcript. TONOLLI told COSTELLO's those are the
Select Committee's rules. COSTELLO did not ask TONOLLI to change the rules. COSTELLO noted
TONOLLI was not in a position to change the Select Committee's rules anyway. COSTELLO did not
communicate his issues with the Select Committee's rules to anyone in the Select Committee who actually had
the ability to change the rules. COSTELLO did not tell Chair Bennie Thompson, who's not an attorney, about
COSTELLO's objections to the Select Committee's rules. COSTELLO was surprised the Select Committee
didn't know it's own rules. COSTELLO and BANNON were waiting for additional instructions from the Select
Committee on how to proceed, but, neither COSTELLO nor BANNON received any additional instructions,


                                                                                                         US-002307
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even though the Select Committee was pushing to the media BANNON could not be covered under Executive
Privilege.

  COSTELLO believed there were seven items in the attachment that could be disposed of quickly.
BANNON did not possess any responsive documents for these items. For example, BANNON did not have any
communication with the Proud Boys, the Oathkeepers, Three Percenters, ALEX JONES, or SCOTT PERRY.
COSTELLO admitted it would have put BANNON in a better light had COSTELLO responded to the Select
Committee there were no documents or communications for the seven items and that those items were not
covered under Executive Privilege. COSTELLO stated Executive Privilege doesn't cover items a person doesn't
possess. The podcasts requested could be obtained by the Select Committee off the internet, and since they were
in the public domain, the podcasts also were not covered under Executive Privilege.

  COSTELLO knew the Select Committee was going to refer the matter to DOJ and believed Congress was
overstepping its authorities and was doing the job of the FBI. COSTELLO did not believe the actions were
appropriate under the Constitution. COSTELLO and BANNON were willing to reply to the Select Committee
subpoena but they needed someone from the Select Committee to advise them of the proper rules.

  COSTELLO did not discuss disposing of any documents requested in the Select Committee subpoena with any
attorneys who represented former President TRUMP.

  COSTELLO had "an email or two" with CLARK, who COSTELLO believed was the attorney who filed the
lawsuit on behalf of former President TRUMP, however, COSTELLO learned the lawsuit was filed by a
Virginia-based attorney named First Name Unknown (FNU) BINNALL.

 COSTELLO again stated he did not inform the Select Committee about disposing of the seven items in the
Select Committee subpoena because the Select Committee would not respond to COSTELLO.

  COSTELLO did not request any other adjournments. The House of Representatives voted quickly after
COSTELLO's request for adjournment. COSTELLO believed that was done in order to make an example of
BANNON. COSTELLO didn't raise the adjournment issue after the House's vote because he knew he'd
eventually have to deal with the USAO anyway.

  COSTELLO was not prepared to respond on BANNON's behalf on October 7, 2021. At that time,
COSTELLO did not know what BANNON possessed that would have been responsive to the Select Committee's
subpoena. Once COSTELLO learned of what items BANNON possessed or didn't possess,
COSTELLO believed they would be able to dispose of those items. COSTELLO felt BANNON's history of
testifying should have been known to Representative SCHIFF.

  COSTELLO did not provide any documents to attorneys representing former President TRUMP for review to
determine if Executive Privilege covered the documents. At the time, COSTELLO did not know what attorneys
were representing others who had received Select Committee subpoenas.

  COSTELLO asked CLARK to reach out to the Select Committee and to directly express to the Select
Committee what COSTELLO and BANNON were confused about in regards to Executive Privilege.
COSTELLO estimated he requested this of CLARK approximately two or three times, however, CLARK did not
reach out to the Select Committee. COSTELLO did not have prior knowledge of the lawsuit on behalf of former
President TRUMP.

  COSTELLO again stated that on October 7, 2021, he did not know what BANNON possessed that may have
been responsive to the Select Committee subpoena, so COSTELLO was not in a position to attempt to dispose of
those documents. COSTELLO did not request the Select Committee grant a production deadline extension, but
he had hoped the Select Committee would have come to an agreement with attorneys representing former
President TRUMP or the Executive Privilege issue would have been resolved prior to the production deadline.
COSTELLO stated it was not BANNON's responsibility to determine what was covered under Executive
Privilege.



                                                                                                        US-002308
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  COSTELLO admitted he would not have handled the situation the way he had if he had known in advance of
the lawsuit filed on behalf of former President TRUMP. Attorneys representing former President TRUMP
informed COSTELLO all those who received a Select Committee subpoena would be given Executive Privilege.

 The Select Committee did not receive a copy of the letter from CLARK nor did the Select Committee request
more than the two paragraphs of CLARK's letter provided by COSTELLO.

  Neither COSTELLO nor BANNON appeared on the record before the Select Committee. Even though
BANNON lived in Washington, DC, COSTELLO lived in New York, he also had issues about COVID,
and COSTELLO believed BANNON could not respond to issues about Executive Privilege when BANNON did
not possess the ability to grant or waive Executive Privilege.

  COSTELLO noted the Select Committee did not seem to be in a hurry to make the other three recipients of
Select Committee subpoenas testify or produce documents. COSTELLO believed the Select Committee was
trying to make an example out of BANNON.

  There were no separate communications between KATZ and the Select Committee or attorneys representing
former President TRUMP.

  COSTELLO identified the seven items of the 17 in the subpoena attachment that could be disposed as: 1, 4, 5,
6, 15, 16, and 17. COSTELLO said item 5 dealt with the War Room podcasts and were available in the public
domain. COSTELLO felt Executive Privilege did not cover item 16 and it would take a "creative argument" to
apply Executive Privilege to that particular item. COSTELLO believed item 17 was covered by attorney-client
privilege or by attorney work product protections. Even though MICHAEL FLYNN was not an attorney, he was
present during attorney-client-protected discussions. Those particular attorneys represented former President
TRUMP and CLARK informed COSTELLO not to respond to item 17.

  COSTELLO admitted he did not have a good answer as to why he didn't disclose to the Select Committee that
the podcasts were in the public domain and BANNON was not required to respond to that particular item.
COSTELLO believed the particular requests regarding the podcasts was just a "bad request" by the Select
Committee.

 COSTELLO advised he didn't understand how Executive Privilege would apply to any communications
BANNON had with the Proud Boys or others, if those communications existed.

  CLARK would not identify for COSTELLO what would be covered under Executive Privilege and that
CLARK left that determination up to those who had received the Select Committee subpoena. CLARK also
refused to reach out to the Select Committee on behalf of COSTELLO or BANNON.

  COSTELLO sent copies of Chair THOMPSON's letters to the Virginia-based attorney representing former
President TRUMP. COSTELLO did not believe the lawsuit applied to the Select Committee subpoena.
COSTELLO could not recall how he found out about the lawsuit, but believed he may have heard about it from a
reporter, not from attorneys representing former President TRUMP.

  COSTELLO did not provide or offer any documents to attorneys representing former President TRUMP to
review for Executive Privilege.

  COSTELLO believed BANNON possessed some documents that would be responsive to the other ten items in
the Select Committee subpoena attachment.

  COSTELLO stated he also represented RUDOLPH GIULIANI and on January 7, 2021, COSTELLO sent
documents to the USAO related to activities on January 6, 2021. However, COSTELLO did not know who at
the USAO had received those documents.




                                                                                                       US-002309
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 COSTELLO opined if BANNON had been working with attorneys who were working with former President
TRUMP on January 6, 2021, any documents may be covered under attorney work product privilege.
COSTELLO admitted he was not certain if former President TRUMP could assert that privilege or not.

  COSTELLO could not recall if it was he or CLARK that first brought up the idea of Executive Privilege, but
COSTELLO stated he could have been the one to have initiated the discussion. COSTELLO was hoping to get
guidance on Executive Privilege from attorneys representing former President TRUMP to see if
BANNON should assert Executive Privilege. COSTELLO recalled explaining Executive Privilege to
BANNON.

 COSTELLO said he would send to the USAO all memorializations of communications he had with the Select
Committee, CLARK, and former President TRUMP's attorneys.

 COSTELLO was surprised to have received the letter from the White House since he had no communication
with anyone in the White House.

  COSTELLO did not want to speak with anyone at the Select Committee after the House vote because he knew
he would eventually end up speaking with USAO.

  COSTELLO did not ask CLARK to attend the Select Committee hearing since CLARK wouldn't even contact
the Select Committee on COSTELLO's behalf.


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